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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA                        )
                                                )
               v.                               ) Criminal No. 1:16CR140
                                                )
PETER ROMAR,                                    ) Hon. Claude M. Hilton
(a/k/a “PIERRE ROMAR”),                         )
                                                )
               Defendant

DEFENDANT’S MOTION AND MEMORANDUM IN SUPPORT TO DISMISS COUNTS
      ONE AND THREE OF THE INDICTMENT FOR IMPROPER VENUE

       COMES NOW the Defendant, Peter Romar, by and through counsel, and respectfully

moves this Honorable Court to dismiss Counts One and Three of the Indictment because venue is

improper in the Eastern District of Virginia.

                                        INTRODUCTION

       Despite alleging a far-reaching conspiracy involving over 14 victims, numerous allegedly

criminal acts, and involving over $500,000, the Government chose to indict this case in a District

with almost no connection to any of the conduct charged. In doing so, the Government ignores a

bedrock principle of venue in criminal cases—that the case must be brought in a place where the

essential conduct of the charged offense took place. Here, with respect to Counts One and Three

of the Indictment, no alleged conspirator took any action in this District that relates to the

essential conduct of those offenses. Rather, the alleged conspirators’ tangential and tenuous

contact with this District related to, at most, “circumstance elements” of the conspiracy that fail

as a matter of law to properly establish venue. Thus, because no conduct essential to the

elements of the charged conspiracy took place here, venue on Counts One and Three in the

Eastern District of Virginia is improper. Those Counts should be dismissed.
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                                  FACTUAL BACKGROUND

       On June 8, 2016, a grand jury returned a three-count Indictment against Mr. Romar,

charging him with: (1) conspiracy to commit offenses against the United States in violation of 18

U.S.C. § 371, specifically conspiracy to (a) transmit communications containing threats to injure

the property or reputation of another with the intent to extort in violation of 18 U.S.C. § 875(d);

and (b) receive any money or property obtained from the extortionate transmission in violation of

18 U.S.C. § 880 (Count One); (2) conspiracy to commit unauthorized computer intrusions in

violation of 18 U.S.C. § 1030(b) (Count Two); and (3) conspiracy to launder monetary

instruments in violation of 18 U.S.C. § 1956(h) (Count Three). Doc. No. 17 (“Indict.”).

       The Indictment alleges a far-reaching conspiracy purportedly beginning in or around July

2013 whereby Mr. Romar and two other co-conspirators “extorted or attempted to extort at least

14 different victims in the United States and abroad, after successfully gaining unauthorized

access to the victims’ computer networks.” Indict. ¶ 7. According to the Indictment, “members

of the Conspiracy demanded more than $500,000 from those 14 victims, although they accepted

smaller amounts in many circumstances.” Id. With respect to Mr. Romar in particular, the

Indictment alleges that he, while residing in Germany, “would receive payments that Co-

Conspirator 1 demanded from victims that could not be transmitted directly to the members of

the Conspiracy located in Syria.” Indict. ¶ 16(D).

       Despite these wide-ranging allegations, involving numerous victims, multiple threats, and

over $500,000 in potential proceeds, the Indictment alleges almost no connection to the Eastern

District of Virginia. See Indict., generally. The Indictment does not allege that any of the




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conspirators were located in, or even ever set foot in Virginia. See id. 1 Nor does it allege that

any threats or other attempts at extortion occurred here. See Indict. ¶ 17. The Indictment does

not allege that any of the 14 victims actually resided in or were otherwise located in this District.

See Indict. ¶¶ 7-12. The Indictment does not even allege that any money was transferred or

otherwise paid from here. See Indict. ¶ 17. To the contrary, the only connection to the Eastern

District of Virginia alleged by the Indictment is the existence of a single server located in

Ashburn, Virginia. See Indict. ¶ 10. This single server was “used and controlled” by a single

victim who did not possess any offices in this District (although it did have offices “in the United

States”), see Indict. ¶¶ 10, 17(Y), and who did not pay any of the conspirators even a single

dollar. See Indict. ¶ 17(BB)-(CC) (noting that this victim rejected Co-Conspirator 1’s proposal

and refused to pay any money).

        Despite this single tenuous and tangential contact with this District, the Government still

chose to indict Mr. Romar here. Because the Indictment cannot properly allege the occurrence

of any essential conduct giving rise to the applicable counts in the Eastern District of Virginia,

venue is improper here, and this Motion to Dismiss should be granted with respect to Counts

One and Three.

                                           ARGUMENT

I.      Venue May Only Lie in a Place where the Essential Conduct Elements of a Crime
        Took Place

        “Proper venue in a criminal prosecution is a constitutional right.” United States v.

Bowens, 224 F.3d 302, 308 (4th Cir. 2000) (quoting Art. III, § 2, cl. 3). Indeed, “[t]he

Constitution twice safeguards the defendant’s venue right: Article III, § 2, cl. 3, instructs that

‘Trial of all Crimes . . . shall be held in the State where the said Crimes shall have been
1
 In fact, of the three alleged co-conspirators, two were located in Syria, and the third, Mr.
Romar, resided in Germany. Indict. ¶¶ 4-5.
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committed’; [and] the Sixth Amendment calls for trial ‘by an impartial jury of the State and

district wherein the crime shall have been committed.’” United States v. Cabrales, 524 U.S. 1, 6

(1998). As a result of this constitutional imperative, “[i]t is settled that, in a criminal case, venue

must be narrowly construed.” United States v. Jefferson, 674 F.3d 332, 365 (4th Cir. 2012).

       Moreover, “[w]hen multiple counts are alleged in an indictment, venue must be proper on

each count.” United States v. Villarini, 238 F.3d 530, 533 (4th Cir. 2001). “The government

bears the burden of proving venue (by a preponderance of the evidence).” Bowens, 224 F.3d at

308.

       “When Congress does not indicate just where it considers the place of the crime to be, the

place ‘must be determined from the nature of the crime alleged and the location of the act or acts

constituting it.” Bowens, 224 F.3d at 308. This requires a two-part inquiry: “[1] a court must

identify the conduct constituting the offense (the nature of the crime) and then [2] discern the

location of the commission of the criminal acts.” Id. at 308-09 (quoting United States v.

Rodriguez-Moreno, 526 U.S. 275, 279 (1999)).

       Importantly, this first prong serves “to limit venue in a criminal trial to the place of the

essential conduct elements of the offense.” Bowens, 224 F.3d at 308 (emphasis in original); see

also Villarini, 238 F.3d at 533-34 (“Venue on a count is proper only in a district in which an

essential conduct element of the offense took place.”). This means that “[v]enue does not

necessarily lie … in every district where an essential element of the offense has transpired.”

Bowens, 224 F.3d at 309 (emphasis added). To the contrary, unless an essential conduct element

took place in a district, venue is improper there, regardless of where any “other essential

elements of the crime occur[red].” Id.; see also id. at 310 (holding that “the only essential

conduct element of harboring or concealing a fugitive from arrest under 18 U.S.C. § 1071 is the



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act of harboring or concealing” and that the issuance of a warrant for a person’s arrest was

“merely a circumstance element (albeit an essential element) of the harboring offense”);

Jefferson, 674 F.3d at 366 (reversing conviction due to improper venue where “[t]he scheme to

defraud [was] clearly an essential element, but not an essential conduct element, of wire (or mail)

fraud”) (emphasis in original).

        This limitation on venue to the place where an essential conduct element took place

applies with equal force in conspiracy cases. Indeed, while “in a conspiracy charge, venue is

proper for all defendants wherever the agreement was made or wherever any overt act in

furtherance of the conspiracy transpires,” see Bowens, 224 F.3d at 311 n.4, such overt acts must

still relate to the essential conduct elements of the applicable offense to make venue proper. See

United States v. Anyakoha, 188 F.3d 503, 1999 WL 635654, at *1 (4th Cir. Aug. 20, 1999)

(unpublished) (“[T]here was no evidence that a co-conspirator possessed the heroin in the

Eastern District of Virginia, so Anyakoha’s possession conviction cannot be based on an aider

and abettor theory.”). 2 Any other holding would allow the Government to circumvent the

Constitution’s explicit mandate requiring venue to lie “where the crime [was] committed” merely

by alleging an agreement between two parties. See Bowens, 224 F.3d at 308.




2
  Under 18 U.S.C. § 3238, “when a crime is committed outside of ‘any particular State or
district,’ venue will be deemed appropriate in the district in which the offender ‘is arrested or is
first brought.’” United States v. Holmes, 699 F. Supp. 2d 818, 825-26 (E.D. Va. 2010), aff’d 670
F.3d 586 (4th Cir. 2012). However, to fall within § 3238’s ambit, the essential conduct elements
must have been committed abroad, and not in any state. See United States v. Levy Auto Parts,
787 F.2d 946, 952 (4th Cir. 1986) (noting that venue would not have been proper under § 3238 if
“crucial activity would have occurred in the District of Columbia,” rather than in Canada and
Pakistan); see also Travis v. United States, 364 U.S. 631, 634 (1961) (“[V]enue provisions in
Acts of Congress should not be so freely construed as to give the Government the choice of ‘a
tribunal favorable’ to it.”).
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       Here, as discussed below, because no essential conduct elements of the applicable

offenses by any conspirator took place in the Eastern District of Virginia, venue is not proper in

this District with respect to Counts One and Three.

II.    Venue on Count I Is Improper Because No Overt Acts Essential to the Charged
       Conspiracy Took Place in the Eastern District of Virginia

       As none of the alleged overt acts charged in Count One relate to the essential conduct

elements of the charged conspiracy, this Count should be dismissed for improper venue. “To

prove a conspiracy under 18 U.S.C. § 371, the government must establish an agreement to

commit an offense, willing participation by the defendant, and an overt act in furtherance of the

conspiracy.” United States v. Tucker, 376 F.3d 236, 238 (4th Cir. 2004). Notably, a § 371

“conspiracy conviction cannot be sustained unless the government establishe[s] beyond a

reasonable doubt that the defendant had the specific intent to violate the substantive statute” that

is the object of the conspiracy. United States v. Johnson, --- F. Supp. 3d ---, 2016 WL 775772, at

*5 (E.D. Va. Feb. 25, 2016) (emphasis in original).

       For this conspiracy, the substantive statutes at issue are (1) 18 U.S.C. § 875(d), which

provides that [w]hoever, with intent to extort from any person … or corporation, any money or

other thing of value, transmits in interstate or foreign commerce any communication containing

any threat to injure the property or reputation of the addressee or of another” violates the statute;

and (2) 18 U.S.C. § 880, which provides that a person violates the statute when he “receives,

possesses, conceals, or disposes of any money or other property which was obtained from the

commission of any offense under this chapter that is punishable by imprisonment for more than 1

year, knowing the same to have been unlawfully obtained.”

       Based on the contours of the charged conspiracy, the essential conduct elements to which

the overt acts of the charged conspiracy must relate are (1) the transmission of threatening


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communications in interstate commerce, see 18 U.S.C. § 875(d), or (2) the receipt, possession,

concealment, or disposal of money or property received as a result of those communications.

See 18 U.S.C. § 880; see also Jefferson, 674 F.3d at 367 (“a conduct element is one of action,

such as the act of putting a letter in the mailbox or making a telephone call’”). And while “the

conduct of anyone with whom [the defendant] shares liability as a principal” is also considered,

that conduct (by any co-conspirator) must still relate to the essential conduct elements of the

conspiracy. See Bowens, 224 F.3d at 311 n.4; Anyakoha, 188 F.3d at 503.

       Here, neither the agreement to commit the charged conspiracy nor any overt acts in

furtherance of the essential conduct elements of the conspiracy took place in the Eastern District

of Virginia. Indeed, the Indictment alleges that, during the relevant time periods, the three co-

conspirators were located in Syria and Germany. Indict. ¶¶ 4-5. It does not allege any physical

presence by the co-conspirators of any kind in this District. See Indict., generally. Thus,

because the alleged co-conspirators never set foot in the Eastern District of Virginia, by

definition, the alleged agreement between the co-conspirators could not have been formed here.

See, e.g., United States v. Clenney, 434 F.3d 780, 782 (5th Cir. 2005) (noting that “the intent

element [of an offense] is a mental state that cannot have been ‘committed’ anywhere but where

[the defendant] was physically present”).

       Nor does the Indictment allege that any overt acts took place in this District. Notably, the

Indictment does not allege that any extortionate threats were transmitted either to or from this

District, or that any victims had any offices in this District where they might have received such

threats. See Indict. ¶¶ 8-12, 17. Likewise, the Indictment does not allege that any funds were

actually sent from or received in the Eastern District of Virginia, or that any co-conspirator ever

took any action in this District in preparation for “receiv[ing], possess[ing], conceal[ing], or



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dispos[ing] of any money or other property” obtained as a result of the co-conspirators’ alleged

threats. See Indict. ¶ 17; 18 U.S.C. § 880; Indict. ¶ 17.

       To the contrary, the Indictment only alleges a single act occurring a single time in this

District—that, on or about March 7, 2014, one co-conspirator “gained unauthorized access” to a

single server located in Ashburn, Virginia. See Indict. ¶ 17(Y). But gaining “unauthorized

access” to a computer server does not implicate the essential conduct elements of a conspiracy to

transmit extortionate communications in interstate commerce or to receive the proceeds of such

communications, because such conduct is irrelevant to the commission of the offenses that are

the object of the conspiracy. See Jefferson, 674 F.3d at 368 (“The district court therefore erred in

relying on Jefferson’s ‘acts directly or causally connected to the wire transmission’ as providing

venue, because aside from the transmission itself, there are no acts necessary to establish the

crime of wire fraud.”). Gaining unauthorized access to the server at issue may have been

“anterior criminal conduct” that eventually led to the transmission of extortionate threats

contemplated by the conspiracy, but as a matter of law, this “circumstance element” is

insufficient to make venue proper in this District. See Villarini, 238 F.3d at 534-35 (holding that

venue was improper in Virginia for a charge of money laundering, even though the defendant

was also charged with transporting the criminally generated funds from Virginia); Jefferson, 674

F.3d at 367-68 (holding that it was irrelevant for venue purposes that the defendant “devis[ed]

and participat[ed] in a scheme to defraud” in the Eastern District of Virginia because “[i]t is the

physical act of transmitting the wire communication for the purpose of executing the fraud

scheme that creates a punishable offense, not merely ‘the existence of a scheme to defraud.’”).

       The location of this server may have some relevance for other counts (i.e., conspiracy to

commit unauthorized computer intrusions in violation of 18 U.S.C. § 1030(b)), but it has nothing



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to do with the essential conduct required for a conspiracy to violate 18 U.S.C. §§ 775(d) and 880.

See Villarini, 238 F.3d at 535 (“Even assuming, however, that the indictment may be read as

implicitly alleging that Villarini transported the money from Virginia to Florida, it certainly

contains no allegation that such transportation was part of a scheme to launder the money.”);

Jefferson, 674 F.3d at 368 (“The government’s position on venue ignores that the crime charged

in Count 10 was not the bribery scheme, but the offense of wire fraud occasioned by a single

telephone call. Its distinct parts—the making and completion—occurred in two different

localities, neither of which was within the Eastern District of Virginia.”).

       In short, venue might be proper in the District where the company receiving the

threatening communications was located or in the place where any of the defendants received the

proceeds of their alleged crimes. But because no overt acts in furtherance of the essential

conduct of the charged conspiracy took place in the Eastern District of Virginia, Count One

should be dismissed for improper venue.

III.   Count Three Should Be Dismissed Because No Financial Transactions or Other Acts
       in Furtherance of a Money Laundering Scheme Took Place in the Eastern District
       of Virginia

       “Federal law defines money laundering as ‘a monetary transaction in criminally derived

property that is … derived from specified unlawful activity.’” United States v. Butler, 211 F.3d

826, 829 (4th Cir. 2000). Notably, “Congress did not fashion the money laundering statute to

create a new source of criminal liability for every fraudulent monetary transaction.” Id. Rather,

“Congress targeted only those transactions occurring after proceeds have been obtained from the

underlying unlawful activity.” Id.

       Consonant with this Congressional mandate, it is well-established that, for purposes of

venue, “the money laundering statute prohibits only the financial transaction and ‘not the anterior

criminal conduct’ that produced the funds that were laundered.” Villarini, 238 F.3d at 534

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(quoting Cabrales, 524 U.S. at 7). This means that venue for money laundering offenses is tied

to the place where the applicable financial transactions occurred. See id. And “the ‘existence of

criminally generated proceeds’ [is] only a ‘circumstance element’ of money laundering in that it

[is] established by proof of a crime that preceded the money laundering conduct.” Id. at 535; see

also id. (“[T]he mere fact that proceeds were criminally generated in a particular district is not

sufficient, standing alone, to establish proper venue in that district for a charge of laundering the

money.”).

       Here, the Indictment does not allege a single monetary transaction that involved the

Eastern District of Virginia in any way. See Indict., generally. In fact, Count Three incorporates

only two specific financial transactions in describing the alleged conspiracy, see Indict. ¶ 22, one

of which involved a victim located in California, and the other of which involved a victim

located in Switzerland (and both of which involved sending money to Mr. Romar in Germany).

See Indict. ¶¶ 9, 12, 22. Thus, while venue for this offense might be proper in California,

dismissal is required in the Eastern District of Virginia. See Villarini, 238 F.3d at 534-35. 3

       Notably, while 18 U.S.C. § 1956(i)(2) provides that a money laundering conspiracy “may

be brought … in any other district where an act in furtherance of the … conspiracy took place,”

this provision is irrelevant here because no acts in furtherance of a conspiracy to launder money

took place in this District. As described above, the only connection to the Eastern District of

Virginia alleged by the Indictment is the existence of a single server in Ashburn, Virginia, “used

and controlled” by a single victim of the extortion scheme (with its offices elsewhere in the

3
 In his Motion to Dismiss for Failure to State an Offense, Mr. Romar argues that this Count
must be dismissed in its entirety because no conduct occurred in the United States sufficient to
avoid the extraterritorial prohibitions contained in the money laundering statute. See Motion at
18-23. If the Court denies this Motion, then venue is still improper in the Eastern District of
Virginia, because the applicable conduct took place in the district where the victims sent the
money at issue, i.e., in California.
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United States). Indict. ¶ 10. This victim did not have any offices in this District; nor was it

present here for any of the events that allegedly took place. See id.

        While the presence of this server might be relevant to a conspiracy to commit the “crime

that preceded the money laundering conduct,” 4 it has nothing to do with a money laundering

scheme that took place only after the alleged extortion produced illicit proceeds. See Indict. ¶

16(D) (noting that Mr. Romar would only receive payments in Germany “that could not be

transmitted directly to the members of the Conspiracy located in Syria”); Villarini, 238 F.3d at

535 (rejecting the argument that venue was proper in Virginia even though the defendant was

“charged with transporting the criminally generated funds from the district” because even if

“Villarini transported the money from Virginia to Florida, [the indictment] … contains no

allegation that such transportation was part of a scheme to launder the money”).

        Nor does 18 U.S.C. § 3238 help the Government, because one of the transactions

explicitly charged as part of the money laundering conspiracy was initiated in California. See

Indict. ¶¶ 2, 22 (B) (noting that Mr. Romar received a Western Union payment from a victim

located in California). As such, to the extent this conduct is sufficient to state an offense, the

“crucial activity” occurred in the United States, not outside of any particular State or district, as

is required to utilize the statute. See Levy Auto Parts, 787 F.2d at 952; Holmes, 699 F. Supp. 2d

at 825-26. 5




4
  Although not incorporated within Count Three, the Indictment elsewhere alleges that a
conspirator gained unauthorized access to the server before seeking to extort the victim to whom
it belonged. See Indict. ¶ 17(Y).
5
  As explained in Mr. Romar’s Motion to Dismiss for Failure to State an Offense, to the extent
the conduct at issue did occur wholly outside of any particular State or District, then it would run
afoul of the money laundering statute’s extraterritorial prohibitions, and require dismissal in any
event. See Motion at 18-23.
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       At bottom, given that no acts by any co-conspirator in furtherance of the alleged money

laundering conspiracy occurred in the Eastern District of Virginia, venue is improper in this

District. Mr. Romar might be prosecuted for this offense in California, but he cannot be

prosecuted in the Eastern District of Virginia. See Jefferson, 674 F.3d at 369 (“Representative

Jefferson could have been—and perhaps yet could be—prosecuted on Count 10 in the district in

Kentucky where his phone call was received. … But Jefferson could not, on these facts, be

properly prosecuted on Count 10 in the Eastern District of Virginia.”); see also United States v.

Stewart, 256 F.3d 231, 241 n.3 (4th Cir. 2001) (noting that venue on a conspiracy count is

improper absent evidence (or allegations) “demonstrating that Stewart, who had, at best, a very

minor role in the alleged conspiracy, knowingly and voluntarily entered into a confederacy

involving the Eastern District of Virginia”).

                                         CONCLUSION

       For the reasons stated herein, Mr. Romar respectfully requests that the Court dismiss

Counts One and Three of the Indictment for improper venue.



                                                        Respectfully submitted,

                                                        PETER ROMAR
                                                        By Counsel

                                                        ______-s-_____________________
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Dated: July 18, 2016




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                               CERTIFICATE OF SERVICE

        I hereby certify that on July 18, 2016, I will electronically file the foregoing pleading
with the Clerk of the Court using the CM/ECF system, which will then send a notification of
such filing (NEF) to the following:

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